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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK/EMR/PP/MD                                       271 Cadman Plaza East
F. #2019R00927                                     Brooklyn, New York 11201


                                                   October 28, 2022

By ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Genaro Garcia Luna
                       Criminal Dkt. No. 19-576 (S-1)(BMC)

Dear Judge Cogan:

              The parties respectfully submit this letter to request that the Court enter the
following schedule in connection with the defendant’s motion to dismiss, filed on October
14, 2022. See ECF No. 123. The parties have conferred and jointly request the following
deadlines:

                     November 4, 2022 – deadline for the government’s response
                     November 9, 2022 – deadline for the defendant’s reply
                     November 16 or 18, 2022 – oral argument should the Court desire it

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:      /s/
                                                   Saritha Komatireddy
                                                   Erin M. Reid
                                                   Philip Pilmar
                                                   Marietou Diouf
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cc:    Clerk of the Court (BMC) (by ECF)
       All counsel of record (by ECF)
